Case 3:05-cr-30015-SMY     Document 562 Filed 04/11/07 Page 1 of 1      Page ID
                                    #1498
                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,           )
                                    )
                         Plaintiff, )
                                    )
            vs.                     )              NO. 05-CR-30015-DRH
                                    )
CARL L. PARKER                      )
                                    )
                         Defendant. )


                                    ORDER



HERNDON, District Judge:

            Before the Court is Defendant Carl L. Parker’s Motion to Continue

Sentencing. (Doc. 557.) The motion is unopposed. The Court, being fully advised

in the premises, and for the reasons stated in said motion, GRANTS Defendant’s

motion. (Doc. 557.) The sentencing is now set for August 17, 2007 at 9:30 a.m.

            IT IS SO ORDERED.

            Signed this 11th day of April, 2007.



                                           /s/      David RHerndon
                                           United States District Judge




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